                 Case 4:02-cr-00094-BSM Document 60 Filed 11/24/09 Page 1 of 3
PROB 12C
ED/AR (212005)
                                                                                      FILED
                                                                                    us. DISTRICT COURT
                                                                                EASTERN DISTRICT ARKANSAS

                                    United States District Court                     NOV 242009
                                                for the
                                      Eastern District of Arkansas        JA~
                                                                          By:
                                                                                                    DEPciERK
                         Petition for Summons for Offender Under Supervision
                                           Supplemental



  Name of Offender: James Jackson                              Case Number: 4:02CR00094-001 WRW

  Name of Sentencing Judicial Officer:    Honorable William R. Wilson, Jr.
                                          United States District Judge
  Offense:                 Possession with intent to distribute more than 5 grams of cocaine base
  Date of Sentence:        November 21, 2002
  Sentence:                84 months Bureau of Prisons, 4 years supervised release, mandatory drug
                           testing, substance abuse treatment, and $100 special penalty assessment

                           March 3, 2008: Sentence of imprisonment reduced to time served under
                           18 U.S.C. 3582(c)(2), and immediately enter and complete residential
                           substance abuse treatment followed by chemical free living, all provisions of
                           judgment dated November 21, 2002, shall remain in effect

                           March 24, 2008: Revoked, 6 months Bureau of Prisons, 36 months
                           supervised release, mandatory drug testing, substance abuse treatment, and
                           $100 special penalty assessment

                           June 18, 2009: Revocation hearing continued for 90 days

                           September 29, 2009: Revocation hearing continued for 45 days due to
                           offender being in detox

                           November 10,2009: Revocation hearing continued to November 25,2009,
                           due to offender reportedly being in residential treatment

                           November 10,2009: Revocation hearing continued to December 18,2009,
                           due to offender reportedly being in residential treatment until November 28,
                           2009

  Type of Supervision:     Supervised Release       Date Supervision Commenced: February 6, 2009
                                                    Expiration Date: February 5, 2012

  Asst. U.S. Attorney: John Ray White               Defense Attorney: Teresa Bloodman
  U.S. Probation Officer: Robert L. Gwin
  Phone No.: 501-604-5270

                                     PETITIONING THE COURT

The offender has violated the following condition(s) of supervision:
,l   ...
                       Case 4:02-cr-00094-BSM Document 60 Filed 11/24/09 Page 2 of 3
           Prob 12C                                -2-                     Petition for Summons for
                                                                         Offender Under Supervision

           Name of Offender: James Jackson                               Case Number: 4:02CR00094-001 WRW


           Condition    Nature of Noncompliance

           Special      The defendant shall participate, under the guidance and supervision of the U.S.
                        Probation Office, in a substance abuse treatment program which may include
                        testing, outpatient counseling and/or residential treatment and abstain from the use
                        of alcohol throughout the course of any treatment.
                        On September 30, 2009, an admission letter was received from Hoover Center, signed by
                        Mr. Jackson's counselor/court liaison, which indicated Mr. Jackson was admitted to the
                        l-Ioover Center "residential treatment program" on that date, after his release from Mid-
                        Ark detox facility. Mr. Jackson reportedly was to be in the program a minimum of 60
                        days to complete residential treatment. In the event Mr. Jackson was to leave or be
                        discharged prior to his completion date, Mr. Jackson's counselor was to notify the U.S.
                        Probation Office. On October 29, 2009, contact was made with Mr. Jackson's counselor
                        at Hoover House who reported Mr. Jackson remained in residential treatment. On
                        November 12,2009, a progress report dated November 10,2009, was received from
                        Teresa Bloodman, attorney for Mr. Jackson, via e-mail which had been drafted by Mr.
                        Jackson's counselor reporting Mr. Jackson was still in Hoover Center's "residential
                        treatment program". It was reported Mr. Jackson had not caused any problems and
                        seemed to be doing well. Mr. Jackson's expected completion date was given as
                        November 28,2009. On November 17,2009, contact was made with the Treatment
                        Coordinator at Hoover Center. It was determined that Mr. Jackson never entered or
                        participated in residential treatment at Hoover Center as reported by his counselor. The
                        counselor was contacted via telephone by Treatment Coordinator and admitted he
                        fabricated the two progress reports which he had submitted reporting Mr. Jackson was in
                        residential treatment.

               2         The defendant shall report to the probation officer and shall submit a truthful and
                         complete written report within the first five days of each month.
                         Mr. Jackson failed to submit a written report for September and October 2009 as required
                         by the conditions of his supervision.

              3          The defendant shall answer truthfully all inquiries by the probation officer and
                         follow the instructions of the probation officer.
                         On September 29,2009, during telephone contact with Mr. Jackson, he was instructed to
                         report his whereabouts upon entering residential treatment and sign the appropriate
                         release of information. Mr. Jackson has failed to report to the U.S. Probation Office as
                         instructed.

                         On November 10,2009, contact was made with Mr. Jackson's daughter via telephone. It
                         was requested Mr. Jackson report to the U.S. Probation Office on November 12,2009.
                         Mr. Jackson failed to report as instructed.
.'.   ,~                 Case 4:02-cr-00094-BSM Document 60 Filed 11/24/09 Page 3 of 3
           Frob 12C                                  -3-                     Petition for Summons for
                                                                           Offender Under Supervision

           Name of Offender: James Jackson                                   Case Number: 4:02CR00094-001 WRW


           It is requested this information be included with the previously reported violations dated May 8;
           August 24; and September 25,2009. A summons was previously issued and a revocation hearing was
           held June 18,2009. The revocation hearing has been continued on two occasions until December 18,
           2009, based upon reported information of Mr. Jackson being in residential treatment. Mr. Jackson has
           retained Teresa Bloodman as counsel. The Government is represented by Assistant U.S. Attorney John
           Ray White.

           I declare under penalty of perjury that the foregoing is true and correct.

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            Robert L. Gwin
            U.S. Probation Officer                                            Assistant U.S. Attorney
            Date:     November 19,2009                                        Date:     ~_()....:4:....-      _




           This form is to be filed with Criminal Docketing as a motion.


           Approved:




           Supervising U.S. Probation Officer


           RLG/pjb

           cc: Teresa Bloodman, P.O. Box 13641, Maumelle, AR 72113
               Assistant U.S. Attorney, John Ray White, P.O. Box 1229, Little Rock, AR 72203
